  Case 1-21-40002-jmm             Doc 21       Filed 03/09/21    Entered 03/09/21 10:08:22




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X
                                                            CASE NO.: 21-40002
IN RE:

          STEVE N. MURRAY
          a/k/a Steve Nathan Murray
          a/k/a Steve Murray

                                    Debtor.
--------------------------------------------------------X

  AMENDED AFFIRMATION IN OPPOSITION TO TRUSTEE’S MOTION TO
                          DISMISS

          CLOVER M. BARRETT, an attorney licensed to practice in the courts of the

State of New York affirms the following to be true under penalties of perjury:

          1.     I am the attorney for the Debtor in the above-captioned matter and as such

am fully familiar with the facts of this matter based on the files that are maintained in my

office.

          2.     I make this affirmation in opposition to the trustee’s motion

to dismiss Debtor’s Chapter 13 petition on the grounds that there are misrepresentations in

Debtor’s petition.

          3.     It is respectfully requested that the Court deny the Trustee’s motion to

dismiss Debtor’s case.

          4.     Since the filing of trustee’s motion, Debtor has provided outstanding

mandatory disclosures including, lease agreement, Corporate State and Federal tax returns

for the years 2018 and 2019.

          5.     Neither Debtor nor his business interests have yet filed 2020 tax returns.

Debtor will provide these returns to the trustee as soon as they are filed.

          6.     Schedule A/B has been amended to remove Debtor’s ownership of real
 Case 1-21-40002-jmm            Doc 21   Filed 03/09/21   Entered 03/09/21 10:08:22




property as the property is held in the name of Modus64 LLC.

       7.      Schedule C of Debtor’s petition has been amended to remove the

homestead exemption as the title to debtor’s real estate is held in the name of Modus64

LLC.

       8.      Debtor’s Statement of Financial Affairs has been amended to reflect the

Debtor’s interest in three restaurant businesses and Modus64 LLC, the real estate entity

that holds title to his home.

       9.      Debtor is in the process of resolving his tax issues with the New York State

Department of Taxation and Finance as well as finalizing a forbearance agreement with

his mortgage company, after which debtor will be able to file a feasible Amended Plan

       WHEREFORE, it is respectfully requested that the trustee’s motion to dismiss

Debtor’s Chapter 13 Petition based on material misrepresentations be denied.


                                                            s/Clover M. Barrett, Esq
                                                            Clover M. Barrett
                                                            Attorney for the Debtor

Dated: Brooklyn, New York
       March 8, 2021
  Case 1-21-40002-jmm             Doc 21       Filed 03/09/21     Entered 03/09/21 10:08:22




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

                                                                   Case No.: 21-40002
                                                                      Chapter 13
        STEVE N. MURRAY
        a/k/a Steve Nathan Murray
        a/k/a Steve Murray

                           Debtor
------------------------------------------------------------X

                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the amended affirmation in opposition to Trustee’s

motion to dismiss has been served on all parties of record through a Notice of Electronic

Filing generated by the Court’s CM/ECF system on this, the 9th day of March, 2021.

        I also served the assigned Chapter 13 Trustee, Michael Macco, Esq., by uploading

the same to the Chapter 13 Trustee Online Case Status System Portal, which was

designated by Trustee for that purpose, and upon the following parties, by the e-mail

address designated by said parties for that purpose;

        Office of the United States Trustee
        U.S. Federal Office Building
        USTP.Region02.BR.TFRTDR@usdoj.gov

        WELLS FARGO BANK, N.A.
        c/o Shapiro DiCaro & Barak LLC
        mchatwin@logs.com
        rgriswold@logs.com
                                                     /s/ Clover M. Barrett
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                                                       Clover Barrett & Associates
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